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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA                     *
                                             *
v.                                           * CRIMINAL NO. 11-00102-CG
                                             *
MARTIN LEDEZMA-DOMINGUEZ                     *
and JOSE MANUEL RUVIRA-                      *
GONZELEZ                                     *
                                             *
      Defendants.                            *

                      FINAL JUDGMENT OF FORFEITURE

      WHEREAS, on June 28, 2011, a jury found the defendants guilty as to

Counts One and Two of the Superseding Indictment. The defendants, MARTIN

LEDEZMA-DOMINGUEZ and JOSE MANUEL RUVIRA-GONZELEZ, did not

contest the forfeiture of the proceeds and forfeited to the United States all of their

right, title, and interest to all property which is set forth in the Forfeiture Notice of

the Superseding Indictment and which is forfeitable to the United States pursuant

to Title 21, U.S.C., § 853, to forfeit the following property:

      (1) $4,772.00 (Four thousand, seven hundred seventy-two and 00/100
      dollars) in United States currency seized from the defendants,
      MARTIN LEDEZMA-DOMINGUEZ and JOSE MANUEL RUVIRA-
      GONZELEZ.

      WHEREAS, The United States properly published notice of the forfeiture of

the above described property and the requirements for filing a claim for the

property for 30 consecutive days starting July 5, 2011, on www.forfeiture.gov. A

Proof of Publication was filed on August 8, 2011, (Doc. 64), specifying the details of
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this publication. No third-parties have come forward to assert an interest in the

subject property in the time required under Title 21, U.S.C, § 853(n).

      NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND

DECREED that the following property is forfeited to The United States of America

pursuant to Title 21, U.S.C., § 841(a)(1) and 853, and Federal Rule of Criminal

Procedure 32.2(b), for disposition according to law:

      (1) $4,772.00 (Four thousand, seven hundred seventy-two and 00/100
      dollars) in United States currency seized from the defendants,
      MARTIN LEDEZMA-DOMINGUEZ and JOSE MANUEL RUVIRA-
      GONZELEZ.

      IT IS FURTHER ORDERED that the Court shall retain jurisdiction in the

case for the purpose of enforcing this Order; and

      IT IS FURTHER ORDERED that the Clerk of the Court shall forward

three (3) certified copies of this Order to Assistant United States Attorney Sean P.

Costello.

      DONE and ORDERED this the 8th day of September, 2011.


                                           /s/ Callie V. S. Granade
                                           UNITED STATES DISTRICT JUDGE




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